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                          UNITED STATES PRETRIAL SERVICES AGENCY
                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF CALIFORNlA

                                            MEMORANDUM


DATE:         June 19, 2006

TO:           Irma Lira
                                            ..-
                                    .LA-+                             JUN 1 9 2006
FROM:         Lydia J. Serrano y,,'
              Pretrial Services Officer                       EASTERN DISTRICT OF CALI
                                                              BY
RE:           BROWN, Akisha Nalini
              Docket No. 06-0201 OWW
              Page Two of Conditions of Release
               ....................................................
Attached please find the page two of the Order Setting Conditions of Release for Arkisa Nalini
Brown, with the signature of the third party custodian, Linda Hines. Ms. Brown was released,
on June7, 2006, pending receipt of the signature of Ms. Hines.
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BROWN, Arkisa Nalini     ADDITIONAL CONDITIONS OF RELEASE
   -
DocketNo. 06-0201 OWW
             U p o n finding t h a t release b y o n e o f t h e a b o v e m e t h o d s will n o t by i t s e l f r e a s o n a b l y a s s u r e t h e a p p e a r a n e e o f t h e d e f e n d a n t
a n d t h e safety o f o t h e r p e r s o n s a n d t h e c o m m u n i t y , it is FURTHER ORDERED t h a t t h e release o f t h e d e f e n d a n t is s u b j e e t to t h e
conditions m a r k e d below:

(X)          (6)          T h e d e f e n d a n t is plaeed in t h e c u s t o d y of:

                          N a m e o f p e r s o n or o r g a n i z a t i o n    Linda Hines

w h o a g r e e s (a) t o s u p e r v i s e t h e d e f e n d a n t in a e c o r d a n e e w i t h a l l c o n d i t i o n s o f release,
(b) t o u s e e v e r y e f f o r t t o a s s u r e t h e a p p e a r a n e e o f t h e d e f e n d a n t a t all s c h e d u l e d c o u r t proceedings, a n d (c) t o notify t h e e o u r t
i m m e d i a t e l y in t h e e v e n t t h e d e f e n d a n t violates a n y c o n d i t i o n s o f release or disappears.
                                                     .        a            , /
                          SIGNED:             ,
                                                     C U S T O ~ A NOR PROXY

(X)          (7)          The defendant shall:
             ( )          (a)      maintain or actively seek employment, and provide proof thereof to the PSO, upon request
             ( )          (b)      maintain or eommenee an edueational program.
             (Xi          (c)      abide bv the followine restrielions on his personal associations. ~ l a e of
                                                                                                             e abode. or uavel:
                                           31a reslJcncc dpproved h, I'retr131 Sew~ces.inrl not mot: or br. absent )iom 1h.s rcs~denr.cDr more Inst 24 hrs
                                   \%ithoutDrlor apor~!aI of 1'50. tr3beI rcslrlclerl lo Stanlsldus. Morcsd, \12dera. 2nd I:re,rl,) countlc,. unleu olncn*
                                   approved in advance by PSO.
             (X)          (d)      avoid all eonlact with the following named persons, who are considered either a l l e ~ e dvictims or potential witnesses:
                                    Sommers Nicole Robertson andcorina Ellia Muniz . unless in the presence of counsel or otherwise approved in advance
                                   bv the PSO.
             (X           (el      report on a regular basis to the following ageney:
                                   pretrial services and complv with their rules &d reeulations.
             ( )          (0       comply with the following curfew:
             ( )          (a)      refrain from possessing a firearm. destmclive device; or other dangerous weapon.
             ( )

             (1
                          (h)
                          (9
                                   refrainfromexcessiveuse ofalcohol, and any useorunlawfulposse~sionofan~rcoticdrugandothcrcontrolled substances
                                   defined in 21 USC 8802 unless prescribed bv a lieensed medical practitioner.
                                   undergo medical orbsychiatrictreatmentandior remain in an instiiution, as follows: Including treatment for dmg/alcohol
                                                                                                                                                                                                           I
                                   dependency, as approved by the PSO.
             ( )          (i)      executed a bond or an agreement to forfeit upon failing to appear or failurc to abide by any of theconditions of release,
                                   the following sum of money or designated property
             (1           (k)      post with the court thc following indicia or ownership of the above-described properly. or the following amount or
                                   percentage of the above-described money:
             ( )          (1)      execute a bail bond with solvent sureties in the amount of $
             ( )          (m)      return to custody each (week)day as of o'clock after being released each (u,eek)day as of o'clock for employment,
                                   schooling, or the following limited purpose(s):
             ( )          (n)      surrender any passport to the Clerk, United Slates District Coun.
             ( )          (0)      obtain no passport during the pendency of this case.
             (X)          (p)      report in person to the Pretrial S e ~ i c e Aecncy
                                                                                s      on the first workins day followine your release from custody.
             (X)          (q)      not access a computer.




(Copies to: Defendant, US Attorney, US Marshal, Pretrial Services)




ADVICE OF PENALTIES AND SANCTIONS
